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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA              :     Hon. James B. Clark

      v.                              :     Mag. No. 17-3195

AHARON LEV,                           :     CRIMINAL COMPLAINT
 a/k/a “Aaron Lev,”
 a/k/a “Aron Lev,”                    :     FILED UNDER SEAL
 a/k/a “David Gold,”
 a/k/a “David Monroe”




I, Sean McCarthy, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:
                              SEE ATFACHMENT A
I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

                             SEE ATrACHMENT B
continued on the attached pages and made a part hereof.



                                      4Cd
                                     Sean McCadhy, Spe-iaf Agent
                                     Federal Bureau of Investigation
Sworn to before me and
subscribed in my presence

November 6, 2017, at
Essex County, New Jersey

                                                       I
HONORABLEJAMES B. CLARK                                    -




UNITES STATES MAGISTRATE JUDGE               Signure of Judicial Officer
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                              ATTACHMENT A
                                 Count One
                     (Conspiracy to Commit Mail Fraud)

     From in or about August 2014 through in or about May 2016, in Ocean
County, in the District of New Jersey and elsewhere, defendant

                                 AHARON LEV,
                               a/k/a “Aaron Lev,”
                               a/k/a “Aron Lev,”
                              a/k/a “David Gold,”
                             a/k/a “David Monroe,”

did knowingly and intentionally conspire and agree with Co-Conspirator 1 and
with others to devise a scheme and artifice to defraud the Credit Card
Company and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, and for the purpose of
executing such scheme and artifice, did knowingly and intentionally cause to
be delivered by mail and private and commercial carrier according to the
direction thereon, among other things, credit cards issued by the Credit Card
Company, as discussed in Attachment B, contrary to Title 18 United States
Code, Section 1341.

      In violation of Title 18, United States Code, Section 1349.



                                   Count Two
                                  (Mail Fraud)

     From in or about August 2014 through in or about May 2016, in Ocean
County, in the District of New Jersey and elsewhere, defendant

                                AHARON LEV,
                              a/k/a “Aaron Lev,”
                              a/k/a “Aron Lev,”
                             a/k/a “David Gold,”
                            a/k/a “David Monroe,”

did knowingly and intentionally devise a scheme and artifice to defraud the
Credit Card Company and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and
for the purpose of executing such scheme and artifice to defraud or attempting


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to do so, cause to be delivered by mail and private and commercial carrier
according to the direction thereon, among other things, credit cards issued by
the Credit Card Company, as discussed in Attachment B.

      In violation of Title 18, United States Code, Section 1341 and Section 2.




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                                ATTACHMENT B

       I, Sean McCarthy, a Special Agent with the Federal Bureau of
Investigation (“FBI”), having conducted an investigation and discussed this
matter with other law enforcement officers who have participated in this
investigation, have knowledge of the following facts. Because this Complaint is
being submitted for the limited purpose of establishing probable cause, I have
not included each and every fact known to me concerning this investigation. I
have set forth only the facts that I believe are necessary to establish probable
cause. Unless specifically indicated, all conversations and statements
described in this affidavit are related in substance and in part. Where I assert
that an event took place on a particular date, I am asserting that it took place
on or about the date alleged.

                                 BACKGROUND

      1.    At various times relevant to this Complaint:

            a. Defendant AHARON LEV, a/k/a “Aaron Lev,” a/k/a “Aron Lev,”
               a/k/a “David Gold,” a/k/a “David Monroe,” resided in or
               around New Jersey, New York, and Israel.

            b. Co-Conspirator 1 resided in or around Utah and ran a business
               that, among other things, bought frequent flyer miles issued by
               airlines as rewards to their repeat customers (“Frequent Flyer
               Miles”) from consumers and sold them to travel agencies and
               others.

            c. The “Credit Card Company” was headquartered in or around
               New York, New York.

            d. The Credit Card Company offered credit card services to
               customers, including small businesses.

            e. To apply for a small business credit card account with the
               Credit Card Company, an authorized representative of the
               business (the “Applicant”) had to submit an application (the
               “Application”).

            f. The Application had to include the Applicant’s personally
               identifying information (“P11”), including their social security
               number and address, as well as information about the small
               business with which the Applicant was associated.

            g. In submitting the Application, the Applicant certified that he or


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              she was the small business’s authorized representative and that
              the information provided on the application was accurate.

         h. The Credit Card Company offered credit card holders certain
            rewards for spending money using the Credit Card Company’s
            cards. These rewards included “points” (the “Rewards Points”)
            which were provided by the Credit Card Company in proportion
            to customers’ purchases with their credit cards. In the Terms
            and Conditions, the Credit Card Company informed its
            customers in sum and substance that returned purchases were
            not eligible for Rewards Points. In addition, the Credit Card
            Company did not award Rewards Points based on purchases
            that were later returned.

         i. In addition, to acquire new customers, the Credit Card
            Company regularly issued promotional offers where it agreed to
            award new customers a substantial number of additional
            Rewards Points (“Promotional Rewards Points”) for spending a
            certain amount of money in a specified period of time with their
            new credit card. Through in or about October 2015, the Credit
            Card Company informed its customers in sum and substance
            that returned purchases were not eligible for Promotional
            Rewards Points. Throughout the relevant time period, including
            after in or about October 2015, the Credit Card Company’s
            terms and conditions for Rewards Points and Promotional
            Rewards Points stated that if customers “attempt[ed] to use or
            earn points in a fraudulent way,” the Credit Card Company
            may, among other things, “take away all points.” In addition,
            starting in or abound November 2015, where customers
            received Promotional Rewards Points based on purchases that
            they later canceled, the Credit Card Company retracted
            previously awarded Promotional Rewards Points and informed
            the customers that such Promotional Rewards Points were
            retracted based on the apparent effort to obtain Promotional
            Rewards Points in an inappropriate way.

         j.   Rewards Points could be exchanged for goods and services or
              for “Frequent Flyer Miles,” which could then be used to buy
              airline tickets. When customers used their Rewards Points for
              their purchases, the vendor was compensated by the Credit
              Card Company, not the customer.

         k. The Credit Card Company’s terms and conditions for the
            Rewards Points program also stated: “Points are not your


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               property. You can’t transfer points to any other person.

                                 OVERVIEW

       2.   From at least as early as in or about August 2014 through in or
about May 2016, Defendant LEV, Co-Conspirator 1 and others (collectively, the
“Co-Conspirators”) engaged in a conspiracy to defraud the Credit Card
Company by opening small business credit card accounts in the names of fake
businesses (the “Fake Business Card Accounts”), using those Fake Business
Card Accounts for purchases, obtaining Rewards Points based on those
purchases, and transferring the Rewards Points to Frequent Flyer Miles
accounts controlled by Co-Conspirator 1 and others. In addition, while the Co
Conspirators obtained some Rewards Points and Promotional Rewards Points
based on bona fide purchases that they made using the Fake Business Card
Accounts, the majority of the Rewards Points and Promotional Rewards Points
that the Co-Conspirators obtained were not based on bona fide purchases, but
rather based on purchases that they made and then cancelled.

      3.    The scheme and conspiracy included the following steps, among
others:

            a. Step 1: the Co-Conspirators recruited individuals (the
               “Nominees”) to provide their PIT to the Co-Conspirators in
               exchange for a fee;
            b. Step 2: the Co-Conspirators created fake email addresses
               purportedly associated with the Nominees (the “Fake Email
               Addresses”);
            c. Step 3: the Co-Conspirators applied for Fake Business Card
               Accounts using the Nominees’ PIT and the Fake Email
               Addresses;
            d. Step 4: after the Co-Conspirators caused the Credit Card
               Company to mail credit cards for the Fake Business Card
               Accounts to the Nominees in New Jersey and elsewhere, the Co
               Conspirators obtained Fake Business Card Account numbers
               from the Nominees, and then made large purchases, for, among
               other things, air travel and car rentals, which they often later
               cancelled;
            e. Step 5: after the Rewards Points posted in the Fake Business
               Card Accounts, the Co-Conspirators transferred certain of the
               Rewards Points into Frequent Flyer Miles accounts that were
               accessed using Internet protocol addresses associated with
               computers in Utah, where Co-Conspirator 1 resides;



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                f.   Step 6: the Co-Conspirators then closed the majority of the
                     Fake Business Card Accounts, which usually avoided the need
                     to pay any annual fees;
                g. Step 7: Co-Conspirator 1 and others used the Frequent Flyer
                   Miles to purchase international air fare for paying customers;
                   and
                h. Step 8: Co-Conspirator 1 compensated defendant LEV for the
                   Rewards Points by wire transfer, ACH payments, cash, and
                   other means.
      4.    It was further part of the conspiracy that defendant LEV and his
Co-Conspirators opened more than 7,000 credit card accounts with the Credit
Card Company, in the names of more than 1,500 different individuals and/or
small businesses, to obtain more than 500 million Rewards Points.

      5.    Had the Credit Card Company known that the applications were
being submitted by the same individuals over and over again, it would not have
opened the credit card accounts.

                                 MANNER AND MEANS

      6.    It was part of the conspiracy for defendant LEV and others to
recruit Nominees through local newspaper advertisements, email messages and
otherwise by offering to pay the individuals for the use of their P11. For
example, one advertisement stated: ‘What would you do with the EXTRA
CASH.   . Top dollar paid for [Credit Card Company] Points 1 OOK+.
            .                                                           .  You can
                                                                            .



earn up to $5000 in just one month! We will get you approved, arrange the
spending and sell the points. Call for our special rates.”

       7.    It was further part of the conspiracy for defendant Lev and others
to pay  the Nominees.   These payments were made from bank accounts
controlled by defendant Lev, Co-Conspirator 1, and others.

      8.     It was further part of the conspiracy that, after recruiting the
Nominees, the Co-Conspirators used the Nominees’ P11 to create the Fake
Business Card Accounts. Frequently, the Fake Business Card Accounts were
applied for, and logged into, online through computers controlled by defendant
LEV and others. In addition, the Co-Conspirators linked hundreds of the Fake
Business Card Accounts with several bank accounts in the names of shell
companies controlled by defendant LEV.

      9.    It was further part of the conspiracy that the Co-Conspirators took
steps to conceal their identities as participants in the scheme. For instance, in
or around October 2014, defendant LEV sent an email message to Co


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Conspirator 1 instructing: “My name should never be anywhere!”

      10.   It was further part of the conspiracy that in communicating with
the Credit Card Company about the Fake Credit Card Accounts, the Co
Conspirators took steps to conceal their identities from the Credit Card
Company:

            a. For example, the Credit Card Company received a call
               purportedly from an Applicant, which came from a telephone
               number registered to defendant LEV. The caller spoke in a fake
               female voice, but several minutes into the call, when the Credit
               Card Company placed him on hold, the caller answered a
               separate telephone call and switched to a male voice.
            b. On at least five other occasions, the same telephone number  —




               registered to defendant LEV called the Credit Card Company
                                           —




               purportedly as another Applicant. During approximately two of
               these calls, the caller provided information for a bank account
               controlled by defendant LEV.
      11.   It was further part of the conspiracy for the Co-Conspirators to
repeatedly make, and then cancel, purchases with the Fake Business Card
Accounts to obtain Promotional Rewards Points without actually having made
bona fide purchases. The Co-Conspirators communicated about this
repeatedly. As just a couple of examples:

            a. In an email message sent to defendant LEV on or about
               December 24, 2015, Co-Conspirator 1 stated that, according to
               other “brokers that do manufacturing,” the Credit Card
               Company had retracted Rewards Points and they all “blame
               fake spending.” For that reason, Co-Conspirator 1 told
               defendant LEV to do “some” “real spend” on the Fake Business
               Card Accounts.

            b. Defendant LEV responded: “as long as we use points fast real
               spend is not issue.”

            c. On or about March 21, 2016, when the Credit Card Company
               closed a Fake Business Account, Co-Conspirator 1 questioned
               defendant LEV about whether the Credit Card Company might
               have closed the Account because “looked at [the Applicant’s]
               husbands [account] and saw fake spend??”

      12.   It was further part of the conspiracy that defendant LEV and
others concealed from the Nominees that the Fake Business Card Accounts
would often be used to make and then cancel purchases. On or about


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November 16, 2016, one Applicant sent an email to a Co-Conspirator, stating:

                  if u would be doing things legit not rental
                  reservations and then cancelling them u would not be
                  having these issues and I didn’t want cards opened
                  and closed a month later witch [sic] affects my credit
                  (which u need to do in order that the points are not
                  confiscated) I did not realize what I’m getting
                  involved in.
     13.   It was further part of the conspiracy that defendant LEV and the
Co-Conspirators took other affirmative steps to conceal from the Credit Card
Company that they controlled the Fake Business Card Accounts. For example:

           a. On or about June 12, 2015, one of the Co-Conspirators advised
              a Nominee that they submitted an application in the Nominee’s
              name, and instructed the Nominee not to answer the telephone:

                      please advise not to p/u [pick up] calls and
                  disregard letters, however if he receives a call with a
                  reference number and name to call back by let me
                  know otherwise sit fight we are handling it.
            b. In another message, sent on or about August 19, 2015, a
               Co-Conspirator told another Nominee to “never ever talk to [the
               Credit Card Company].”

            c. On or about February 13, 2016, Co-Conspirator 1 instructed a
               Nominee: “Feel free to answer [if the Credit Card Company
               calls] and simply say you did the applications, any spend we
               may have done or points transfers were authorized, and if they
               ask for anything more beyond your basic info like social
               security number simply ask them to send the request in writing
               so you can review it with your accountant to get them what they
               need.”
       14.   It was further part of the conspiracy for the Co-Conspirators to
misrepresent to the Credit Card Company that the Applications were for actual
small businesses and first-time Applicants (or Applicants who had not held the
type of credit card account in the last 12 months), and that the charges on the
Fake Business Card Accounts would be used for business purposes. These
were materially false representations because, among other things, certain
Rewards Points were available only to businesses or to first-time Applicants, or
to Applicants who had not held the type of credit card account in the last 12
months.



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      15.   It was further part of the conspiracy that the Co-Conspirators
signed up for the Fake Business Card Accounts using email addresses whose
domain names, such as gemail.biz, had been registered by defendant LEV.
Defendant LEV registered those domain names using his personal telephone
number, an address associated with a one of his shell companies, and several
fake names, such as “David Gold” or “David Monroe.”

       16.   It was further part of the conspiracy that defendant LEV and
Co-Conspirator 1 maintained a list of Fake Business Card Accounts, which
reflected login information for the accounts, the Nominees’ P11, and the dates
on which the Co-Conspirators expected the Rewards Points to post. It was
further part of the conspiracy that the Co-Conspirators almost immediately
accessed the Rewards Points when they became available and transferred them
to Frequent Flyer Miles accounts that Co-Conspirator 1 and others controlled.

       17.   It was further part of the conspiracy that Co-Conspirator 1 paid
defendant LEV for the fraudulently obtained Rewards Points, frequently
through wire transfers or ACH. for example, on or about January 28 and
January 29, 2016, Co-Conspirator 1 wired payments of approximately $10,000
and $20,000, respectively, from two companies controlled by Co-Conspirator 1
to a shell company controlled by defendant LEV. In email messages sent on or
about January 28 and January 29, 2016, an associate of Co-Conspirator 1
emailed confirmation of the payments to Co-Conspirator 1 and defendant LEV.
During the course of the conspiracy, Co-Conspirator 1 transferred
approximately $3.5 million from bank accounts controlled by Co-Conspirator 1
to bank accounts controlled by defendant LEV.

       18.   It was further part of the conspiracy that the Co-Conspirators
communicated by email about the amounts Co-Conspirator 1 owed to
defendant LEV. For example, on or about May 16, 2016, Co-Conspirator 1
sent an email message stating that on or about that date defendant LEV was
going to receive approximately 1.3 cents per point for approximately
456,000 points, for a total payment of approximately $5,928.

      19.   It was further part of the conspiracy that the Co-Conspirators
caused the Credit Card Company to mail credit cards from its offices outside
New Jersey to the various Nominees, including on or about March 31, 2016,
when the Credit Card Company mailed a credit card to a Nominee’s residence
in New Jersey.




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